     Case 1:15-cv-00768-ADA-HBK Document 215 Filed 09/12/23 Page 1 of 2


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 8                                    UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    LAKEITH L. MCCOY,                                 No. 1:15-cv-00768-ADA-HBK (PC)
12                       Plaintiff,
13           v.                                         ORDER ADOPTING FINDINGS AND
                                                        RECOMMENDATIONS AND DENYING
14    A. HOLGUIN, et al.,                               DEFENDANTS’ MOTION FOR SUMMARY
                                                        JUDGMENT
15                       Defendants.
                                                        (ECF Nos. 194, 214)
16

17           Plaintiff LaKeith McCoy is proceeding pro se in this civil rights action filed pursuant to

18   42 U.S.C. § 1983. The matter was referred to a United States Magistrate Judge pursuant to 28

19   U.S.C. § 636(b)(1)(B) and Local Rule 302.

20          On August 2, 2023, the Magistrate Judge issued findings and recommendations,

21   recommending that the Court deny Defendants’ motion for summary judgment. (ECF No. 214.)

22   The findings and recommendations contained notice that the parties had fourteen days within

23   which to file objections. (Id. at 16.) That deadline has passed, and neither party has filed

24   objections.

25          In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C), the Court has conducted a

26   de novo review of this case. Having carefully reviewed the entire file, the Court concludes that

27   the findings and recommendations are supported by the record and proper analysis.

28   ///
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     Case 1:15-cv-00768-ADA-HBK Document 215 Filed 09/12/23 Page 2 of 2


 1         Accordingly,

 2         1.    The findings and recommendations issued on August 2, 2023, (ECF No. 214), are

 3               adopted in full;

 4         2.    Defendants’ motion for summary judgment, (ECF No. 194), is denied; and

 5         3.    This matter is referred back to the Magistrate Judge for further proceedings.

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 8   IT IS SO ORDERED.

 9      Dated:   September 12, 2023
                                                    UNITED STATES DISTRICT JUDGE
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